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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND

    UNITED STATES OF AMERICA,
                                                         Criminal Action No. ELH-18-0045
        v.

    ANDRE WEST,
      Defendant.




                                 MEMORANDUM OPINION

        Andre West filed a pro se Motion for Compassionate Release. ECF 38. Thereafter,

through counsel, West filed a “Supplemental Memorandum in Support of Emergency Motion for

Compassionate Release Pursuant to 18 U.S.C. § 3582(c)(1)(A)(i)” (ECF 42), along with nine

exhibits. ECF 42-1 to ECF 42-9.        The government filed an opposition to West’s pro se

submission (ECF 37) and to the motion submitted by counsel. ECF 45. It also submitted two

exhibits. ECF 45-1 to ECF 45-2. And, defendant replied. ECF 48.

        I shall refer to ECF 38 and ECF 42 collectively as the “Motion.” No hearing is necessary

to resolve the Motion. For the reasons that follow, I shall grant the Motion.

                                       I.   Background

        On January 25, 2018, a grand jury in the District of Maryland returned a single-count

indictment against the defendant for possession with intent to distribute heroin and cocaine, in

violation of 21 U.S.C. § 841(b)(1)(B). ECF 1. West entered a plea of guilty on May 8, 2018

(ECF 18), pursuant to a Plea Agreement. ECF 19. The plea was tendered under Fed. R. Crim. P.

11(c)(1)(C), by which the parties agreed to a term of imprisonment of 27 months of

incarceration. Id. ¶ 8.
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       The parties contemplated a base offense level of 24 pursuant to the United States

Sentencing Guidelines (“U.S.S.G.” or “Guidelines”) based on the quantity of heroin and cocaine.

Id. ¶ 7(a). And, the parties contemplated a three-level reduction for acceptance of responsibility,

pursuant to U.S.S.G. § 3E1.1. Id. ¶ 7(b). Moreover, the parties agreed to another two-level

reduction, pursuant to U.S.S.G. § 2D1.1(b)(17) because the defendant met the safety valve

criteria. Id. ¶ 7(c). The parties also agreed to a Criminal History Category of I. Id. ¶ 7(d).

       The Plea Agreement included a stipulation of facts.           Id. at 8.    According to the

stipulation, on May 17, 2017, law enforcement executed a search warrant at defendant’s home

and found “(1) over $32,000 in cash, (2) 5 digital scales, (3) approximately one kilogram of

cocaine, (4) approximately 120 grams of heroin; and (5) approximately one kilogram of what

appeared to be a cutting agent such as quinine.” Id. And, the parties agreed that defendant

“possessed the cocaine and heroin with the intent to distribute them.” Id.

       According to the Presentence Investigation Report (“PSR,” ECF 24), West had a base

offense level of 24 and a Criminal History Category of I. Id., ¶¶ 14, 29. After the deductions

contemplated in the Plea Agreement, pursuant to U.S.S.G. § 5C1.2 and U.S.S.G. § 3E1.1, the

defendant had a final offense level of 19. Id. ¶ 23. Based on an offense level of 19 and a

Criminal History Category of I, West’s Guidelines called for a period of incarceration ranging

from 30 to 37 months of imprisonment. Id. ¶ 68. Because the defendant satisfied the criteria

under 18 U.S.C. § 3553(f)(1)-(5), he was not subject to a statutory minimum sentence. Id.

       Sentencing was held on November 20, 2018. ECF 27. At the time, the defendant was 38

years old. ECF 24 at 3. He stood five feet nine inches tall and weighed 160 pounds. ECF 24, ¶

45. Pursuant to the Plea Agreement, I imposed a term of 27 months’ imprisonment. ECF 30

(Judgment); ECF 31 (Statement of Reasons).



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           West, who was born in 1979, is now 41 years of age. ECF 42-1 (Computation Data) at 1.

He is presently incarcerated at FCI Allenwood Low. Id. West currently weighs 208 pounds.

ECF 42-6 (Medical Records) at 24, 11. This equates to a BMI of approximately 30.7. ECF 42 at

4.

           Defendant has served about 21 months of his 27-month sentence.        ECF 42-1. This

equates to about 77% of the sentence, exclusive of good time credits under 18 U.S.C. § 3624(b).

Id. Accounting for good time credit, he has served about 87% of his sentence. Id. Defendant

has a projected release date of February 4, 2021. Id. He is eligible for home detention through

the BOP on November 15, 2020, and is scheduled to be released on home detention on

November 17, 2020. ECF 42 at 2.

           West’s medical history includes HIV, hypertension, obesity, and prediabetes. ECF 42 at

3; ECF 42-6. Defendant also suffered a gunshot wound to his lower back at age 17, was

diagnosed with a heart murmur at age 20, and had two hernia surgeries at ages 20 and 29. ECF

24, ¶ 46.

           Through counsel, defendant petitioned the Warden for compassionate release on July 23,

2020. ECF 42-8. The Warden denied defendant’s request on August 7, 2020. ECF 42-9. The

government does not contest that the defendant has satisfied the exhaustion requirement. ECF

45 at 1.

           Additional facts are included, infra.

                                      II.   Standard of Review

           Ordinarily, a court “may not modify a term of imprisonment once it has been imposed.”

18 U.S.C. § 3582(c); see United States v. Chambers, 956 F.3d 667, 671 (4th Cir. 2020); United

States v. Jackson, 952 F.3d 492, 495 (4th Cir. 2020); United States v. Martin, 916 F.3d 389, 395



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(4th Cir. 2019). But, “the rule of finality is subject to a few narrow exceptions.” Freeman v.

United States, 564 U.S. 522, 526 (2011). One such exception is when the modification is

“expressly permitted by statute.” 18 U.S.C. § 3582(c)(1)(B); see Jackson, 952 F.3d at 495.

       Commonly termed the “compassionate release” provision, 18 U.S.C. § 3582(c)(1)(A)(i)

provides a statutory vehicle to modify a defendant’s sentence. Section 3582 was adopted as part

of the Sentencing Reform Act of 1984. It originally permitted a court to alter a sentence only

upon a motion by the Director of the BOP. See Pub. L. No. 98-473, § 224(a), 98 Stat. 2030

(1984). Thus, a defendant seeking compassionate release had to rely on the BOP Director for

relief. See, e.g., Orlansky v. FCI Miami Warden, 754 F. App’x 862, 866-67 (11th Cir. 2018);

Jarvis v. Stansberry, No. 2:08CV230, 2008 WL 5337908, at *1 (E.D. Va. Dec. 18, 2008)

(denying compassionate release motion because § 3582 “vests absolute discretion” in the BOP).

       However, for many years the safety valve of § 3582 languished. BOP rarely filed

motions on an inmate’s behalf. As a result, compassionate release was exceedingly rare. See

Hearing on Compassionate Release and the Conditions of Supervision Before the U.S.

Sentencing Comm’n 66 (2016) (statement of Michael E. Horowitz, Inspector General, Dep’t of

Justice) (observing that, on average, only 24 inmates were granted compassionate release per

year between 1984 and 2013).

       In December 2018, Congress significantly amended the compassionate release

mechanism when it enacted the First Step Act of 2018 (“FSA”). See Pub. L. 115-391, 132 Stat.

5239 (2018). As amended by the FSA, 18 U.S.C. § 3582(c)(1)(A) permits a court to reduce a

defendant’s term of imprisonment “upon motion of the Director of [BOP], or upon motion of the

defendant after the defendant has fully exhausted all administrative rights to appeal a failure of

the [BOP] to bring a motion on the defendant’s behalf or the lapse of 30 days from the receipt of



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such a request by the warden of the defendant’s facility,” whichever occurs first. So, once a

defendant has exhausted his administrative remedies, he may petition a court directly for

compassionate release.

       Under § 3582(c)(1)(A), the court may modify the defendant’s sentence if, “after

considering the factors set forth in section 3553(a) to the extent that they are applicable,” it finds

that

       (i) extraordinary and compelling reasons warrant such a reduction;

       (ii) the defendant is at least 70 years of age, has served at least 30 years in prison,
       pursuant to a sentence imposed under section 3559(c), for the offense or offenses
       for which the defendant is currently imprisoned, and a determination has been
       made by the Director of the Bureau of Prisons that the defendant is not a danger to
       the safety of any other person or the community, as provided under section
       3142(g);

       and that such a reduction is consistent with applicable policy statements issued by
       the Sentencing Commission . . . .

       Accordingly, in order to be entitled to relief under 18 U.S.C. § 3582(c)(1)(A)(i), the

defendant must demonstrate that (1) “extraordinary and compelling reasons” warrant a reduction

of his sentence; (2) the factors set forth in 18 U.S.C. § 3553(a) countenance a reduction; and (3)

the sentence modification is “consistent” with the policy statement issued by the Sentencing

Commission in U.S.S.G. § 1B1.13.

       “When deciding whether to reduce a defendant’s sentence under § 3582(c)(1)(A), a

district court may grant a reduction only if it is ‘consistent with applicable policy statements

issued by the Sentencing Commission.’” United States v. Taylor, 820 F. App’x 229, 230 (4th

Cir. 2020) (per curiam) (citing 18 U.S.C. § 3582(c)(1)(A)); see also 28 U.S.C. § 994(t) (directing

Sentencing Commission to “describe what should be extraordinary and compelling reasons for

sentence reduction”).



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       U.S.S.G. § 1B1.13 is titled “Reduction in Term of Imprisonment under 18 U.S.C.

§ 3582(c)(1)(A) Policy Statement.” U.S.S.G. § 1B1.13(1)(A) provides for a sentence reduction

based on “extraordinary and compelling reasons,” and § 1B1.13(1)(B) provides for a reduction

based on age, in combination with other requirements. U . S . S . G . § 1B1.13(2) establishes as a

relevant factor that “the defendant is not a danger to the safety of any other person or to the

community, as provided in 18 U.S.C. § 3142(g).”

       The Application Notes permit compassionate release based on circumstances involving

illness, declining health, age, exceptional family circumstances, as well as “other reasons.”

Application Note 1 to U.S.S.G. § 1B1.13 defines “Extraordinary and Compelling Reasons” in

part as follows (emphasis added):

        1. Extraordinary and Compelling Reasons.—Provided the defendant
        meets the requirements of subdivision (2), extraordinary and compelling
        reasons exist under any of the circumstances set forth below:

         (A) Medical Condition of the Defendant.—

             (i) The defendant is suffering from a terminal illness (i.e., a serious and
             advanced illness with an end of life trajectory). A specific prognosis of life
             expectancy (i.e., a probability of death within a specific time period) is not
             required. Examples include metastatic solid-tumor cancer, amyotrophic
             lateral sclerosis (ALS), end-stage organ disease, and advanced dementia.

             (ii) The defendant is—

                (I) suffering from a serious physical or medical condition,

                (II) suffering from a serious functional or cognitive impairment, or

                (III) experiencing deteriorating physical or mental health because of
                the aging process,

           that substantially diminishes the ability of the defendant to provide self-care
           within the environment of a correctional facility and from which he or she is
           not expected to recover.



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       Application Note 1(B) provides that age is an extraordinary and compelling reason where

the defendant is at least 65 years of age, has serious physical or mental health issues, and has

served at least 10 years in prison or 75% of the sentence. Application Note 1(C) concerns

Family Circumstances. Application Note 1(D) is titled “Other Reasons.” It permits the

court to reduce a sentence where, “[a]s determined by the Director of the Bureau of Prisons,

there exists in the defendant’s case an extraordinary and compelling reason other than, or in

combination with, the reasons described in subdivisions (A) through (C).” U.S.S.G. § 1B1.13

App. Note 1(D).

       The BOP regulation appears at Program Statement 5050.50, Compassionate

Release/Reduction in Sentence: Procedures for Implementation of 18 U.S.C. §§ 2582 and

4205. The Court may not rely on the Program Statement, however. Rather, the Court must

consider the Sentencing Commission’s policy statements. Taylor, 820 F. App’x at 230.

       The defendant, as the movant, bears the burden of establishing that he is entitled to a

sentence reduction under 18 U.S.C. § 3582. See, e.g., United States v. Hamilton, 715 F.3d 328,

337 (11th Cir. 2013); United States v. Edwards, NKM-17-00003, 2020 WL 1650406, at *3

(W.D. Va. Apr. 2, 2020). If the defendant can show an extraordinary and compelling reason

that renders him eligible for a sentence reduction, the Court must then consider the factors

under 18 U.S.C. § 3553(a) to determine whether, in its discretion, a reduction of sentence is

appropriate. Dillon, 560 U.S. at 827. But, compassionate release is a “rare” remedy. United

States v. Chambliss, 948 F.3d 691, 693-94 (5th Cir. 2020); United States v. Mangarella, FDW-

06-151, 2020 WL 1291835, at *2-3 (W.D. N.C. Mar. 16, 2020); White v. United States, 378 F.

Supp. 3d 784, 787 (W.D. Mo. 2019).




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                                      III.    COVID-19 1

       Defendant filed his Motion while the nation is “in the grip of a public health crisis more

severe than any seen for a hundred years.” Antietam Battlefield KOA v. Hogan, CCB-20-1130,

___ F. Supp. 3d ___, 2020 WL 2556496, at *1 (D. Md. May 20, 2020). That crisis is COVID-

19. 2 The World Health Organization declared COVID-19 a global pandemic on March 11, 2020.

See Seth v. McDonough, PX-20-1028, 2020 WL 2571168, at *1 (D. Md. May 21, 2020).

       The judges of this Court “have written extensively about the pandemic.” United States v.

Williams, PWG-19-134, 2020 WL 3073320, at *1 (D. Md. June 10, 2020) (collecting cases).

Therefore, it is not necessary to recount in detail the “unprecedented nature and impact” of the

pandemic. Id.

       That said, the Court must underscore that the virus is highly contagious. See Coronavirus

Disease 2019 (COVID-19), How COVID-19 Spreads, CTRS. FOR DISEASE CONTROL &

PREVENTION (Apr. 2, 2020), https://bit.ly/2XoiDDh. Moreover, although many people who are

stricken with the virus experience only mild or moderate symptoms, the virus can cause severe

medical problems as well as death, especially for those in “high-risk categories . . . .” Antietam

Battlefield KOA, 2020 WL 2556496, at *1 (citation omitted). As of October 14, 2020, COVID-

19 has infected more than 7.8 million Americans and caused over 215,000 deaths in this country.

See COVID-19 Dashboard, THE JOHNS HOPKINS UNIV., https://bit.ly/2WD4XU9 (last accessed

Oct. 14, 2020).

       1
           The Court may take judicial notice of matters of public record. See Fed. R. Evid. 201.
       2
         Severe Acute Respiratory Syndrome Coronavirus 2 (SARS-CoV-2) is the cause of
coronavirus disease 2019, commonly called COVID-19. See Naming the Coronavirus Disease
and the Virus that Causes It, WORLD HEALTH ORG., https://bit.ly/2UMC6uW (last accessed June
15, 2020).




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        The COVID-19 pandemic is the worst public health crisis that the world has experienced

since 1918. See United States v. Hernandez, 451 F. Supp. 3d 301, 305 (S.D.N.Y. 2020) (“The

COVID-19 pandemic . . . . presents a clear and present danger to free society for reasons that

need no elaboration.”).       The pandemic “has produced unparalleled and exceptional

circumstances affecting every aspect of life as we have known it.” Cameron v. Bouchard, LVP-

20-10949, 2020 WL 2569868, at *1 (E.D. Mich. May 21, 2020), stayed, 818 Fed. App’x 393,

(6th Cir. 2020). Indeed, for a significant period of time, life as we have known it came to a halt.

Although many schools and businesses have reopened, others are subject to substantial

restrictions.   And, in view of the recent resurgence of the virus in some parts of the country,

businesses and schools are again facing closure or restrictions.

        Unfortunately, there is currently no vaccine, cure, “or proven effective treatment” that is

available. Id. (citation omitted). Moreover, according to the Centers for Disease Control and

Prevention (“CDC”), certain risk factors increase the chance of severe illness. Those risk factors

initially included age (over 65); lung disease; asthma; chronic kidney disease; serious heart

disease; obesity; diabetes; liver disease; and a compromised immune system. See Coronavirus

Disease 2019 (COVID-19), People Who Are at Risk for Severe Illness, CTRS. FOR DISEASE

CONTROL & PREVENTION (May 14, 2020), https://bit.ly/2WBcB16.

        On June 25, 2020, the CDC revised its guidance. Then, on July 17, 2020, to reflect the

most recently available data, the CDC again revised its guidance as to medical conditions that

pose a greater risk of severe illness due to COVID-19. See People of Any Age with Underlying

Medical Conditions, CTRS. FOR DISEASE CONTROL & PREVENTION (July 17, 2020),

https://bit.ly/38S4NfY. According to the CDC, the factors that increase the risk include cancer;

chronic kidney disease; COPD; being immunocompromised; obesity, where the body mass index



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(“BMI”) is 30 or higher; serious heart conditions, including heart failure and coronary artery

disease; sickle cell disease; and Type II diabetes.

       The CDC has also created a second category for conditions that “might” present a risk for

complications from COVID-19. The factors that might increase the risk include cerebrovascular

disease, hypertension, pregnancy, liver disease, cystic fibrosis, neurologic conditions, a

compromised immune system, smoking, and Type I diabetes. See id. Moderate to severe asthma

is an example of an underlying medical condition that was moved to the new category by the

CDC; it is now identified as a condition that “might” put an individual at higher risk for COVID-

19 complications. See Id.

       Thus far, the only way to slow the spread of the virus is to practice “social distancing.”

See Coronavirus Disease 2019 (COVID-19), How to Protect Yourself & Others, CTRS. FOR

DISEASE CONTROL & PREVENTION, https://bit.ly/3dPA8Ba (last accessed May 21, 2020). Social

distancing is particularly difficult in the penal setting, however. Seth, 2020 WL 2571168, at *2.

Prisoners have little ability to isolate themselves from the threat posed by the coronavirus. Id.;

see also Cameron, 2020 WL 2569868, at *1. They are not readily able to secure safety products

on their own to protect themselves, such as masks and hand sanitizers.              Consequently,

correctional facilities are especially vulnerable to viral outbreaks and ill-suited to stem their

spread. See Coreas v. Bounds, TDC-20-0780, 2020 WL 1663133, at *2 (D. Md. Apr. 3, 2020)

(“Prisons, jails, and detention centers are especially vulnerable to outbreaks of COVID-19.”); see

also Letter of 3/25/20 to Governor Hogan from approximately 15 members of Johns Hopkins

faculty at the Bloomberg School of Public Health, School of Nursing, and School of Medicine

(explaining that the “close quarters of jails and prisons, the inability to employ effective social

distancing measures, and the many high-contact surfaces within facilities, make transmission of



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COVID-19 more likely”); accord Brown v. Plata, 563 U.S. 493 519-20 (2011) (referencing a

medical expert’s description of the overcrowded California prison system as “‘breeding grounds

for disease’”) (citation omitted).

       The Department of Justice (“DOJ”) has recognized the unique risks posed to inmates and

employees of the Bureau of Prisons (“BOP”) from COVID-19. The DOJ has adopted the

position that an inmate who presents with one of the risk factors identified by the CDC should be

considered as having an “extraordinary and compelling reason” warranting a sentence reduction.

See U.S.S.G. § 1B1.13 cmt. n.1(A)(ii)(I).

       Attorney General William Barr issued a memorandum to Michael Carvajal, Director of

the BOP, on March 26, 2020, instructing him to prioritize the use of home confinement for

inmates at risk of complications from COVID-19. See Hallinan v. Scarantino, 20-HC-2088-FL,

2020 WL 3105094, at *8 (E.D. N.C. June 11, 2020). Then, on March 27, 2020, Congress passed

the Coronavirus Aid, Relief, and Economic Security Act (the “CARES Act”), Pub. L. No. 116-

136, 134 Stat. 281. In relevant part, the CARES Act authorized the Director of BOP to extend

the permissible length of home confinement, subject to a finding of an emergency by the

Attorney General. See Pub. L. No. 116-136, § 12003(b)(2). On April 3, 2020, the Attorney

General issued another memorandum to Carvajal, finding “the requisite emergency . . . .”

Hallinan, 2020 WL 3105094, at *9. Notably, the April 3 memorandum “had the effect of

expanding the [BOP’s] authority to grant home confinement to any inmate . . . .” Id.

       On March 23, 2020, the CDC issued guidance for the operation of penal institutions to

help prevent the spread of the virus. Seth, 2020 WL 2571168, at *2. Notably, the BOP has

implemented substantial measures to mitigate the risks to prisoners, to protect inmates from

COVID-19, and to treat those who are infected. See ECF 37 at 4-5 (detailing measures that BOP



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has implemented at BOP facilities). Indeed, as the Third Circuit recognized in United States v.

Raia, 954 F.3d 594, 597 (3rd Cir. 2020), the BOP has made “extensive and professional efforts

to curtail the virus’s spread.”

        As with the country as a whole, however, the virus persists in penal institutions. 3 As of

October 14, 2020, the BOP had 126,162 federal inmates and 36,000 staff. Also as of October 14,

2020, the BOP reported that 1,652 inmates and 736 BOP staff currently tested positive for

COVID-19; 13,938 inmates and 1,216 staff had recovered from the virus; and 126 inmates and

two staff member have died from the virus. And, the BOP has completed 63,111 COVID-19

tests. See https://www.bop.gov/coronavirus/ (last accessed Oct. 14, 2020). See COVID-19, FED.

BUREAU OF PRISONS, https://bit.ly/2XeiYH1.

        With respect to FCI Allenwood Low, where the defendant is a prisoner, as of October 18,

2020, the BOP reported that no inmates or staff have currently tested positive for COVID-19 and

one inmate has recovered at the facility. And, the facility has completed 129 tests.          See

https://www.bop.gov/coronavirus/ (last accessed Oct. 18, 2020).

                                      IV.    Discussion

        West moves for compassionate release on the ground that he has four health conditions

that render him particularly vulnerable to COVID-19. ECF 42 at 5-12. In particular, defendant

suffers from HIV, hypertension, obesity, and prediabetes. Id.; ECF 42-6 (Medical Records) at 1,

8, 10, 24. West currently takes medication to treat his HIV and hypertension. Id. Moreover,

West contends that the sentencing factors under 18 U.S.C. § 3553(a) counsel in favor of reducing

his sentence to time served. Id. at 13-14.

        3
          The New York Times reported in June 2020 that cases of COVID-19 “have soared in
recent weeks” at jails and prisons across the country. Timothy Williams et al., Coronavirus
cases Rise Sharply in Prisons Even as They Plateau Nationwide, N.Y. TIMES (June 18, 2020),
https://nyti.ms/37JZgH2.

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       The government acknowledges that West’s medical condition constitutes an

“extraordinary and compelling” reason for relief in light of the CDC guidance. ECF 45 at 2.

But, the government contends that compassionate release is not warranted because it would

undermine the goals of sentencing and the BOP has not reported any confirmed, active cases at

FCI Allenwood Low. Id. at 2. The government suggests that the Court should deny defendant’s

request, without prejudice, so defendant can make an updated request if the conditions in the

prison change. Id. (citing United States v. Zayas-Mercado, Crim. No. JKB-18-321 (D. Md. July

13, 2020)).

       To be sure, the coronavirus is not “tantamount to a ‘get out of jail free’ card.” United

States v. Williams, PWG-13-544, 2020 WL 1434130, at *3 (D. Md. Mar. 24, 2020) (Day, M.J.).

However, numerous courts have found that, in light of the COVID-19 pandemic, serious chronic

medical conditions, including HIV, obesity, hypertension, and prediabetes, qualify as a

compelling reason for compassionate release. See, e.g., United States v. Gutman, RDB-19-0069,

2020 WL 24674345, at *2 (D. Md. May 13, 2020) (finding defendant’s age of 56 years, multiple

sclerosis, and hypertension satisfied extraordinary and compelling reason); United States v.

Coles, No. 00-cr-20051, 2020 WL 1976296, at *7 (C.D. Ill. Apr. 24, 2020) (granting

compassionate release to defendant with hypertension, prediabetes, prostate issues, bladder

issues, and a dental infection); United States v. Zukerman, 451 F. Supp. 3d 329, 336 (S.D.N.Y.

2020) (defendant’s diabetes, hypertension, obesity, and age satisfied extraordinary and

compelling reason). See also, e.g., Bruno v. United States, __ F. Supp. 3d __, 2020 WL

4192282, at * 3 (E.D. Va. July 16, 2020) (granting compassionate release to defendant with

HIV); United States v. Hilow, No. 15-170-JD, 2020 WL 2851086, at *4 (D. N.H. June 2, 2020)

(granting compassionate release to defendant with asthma, migraines, hypertension, high



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cholesterol, prediabetes, and borderline obesity); United States v. Ullings, 1:10-CR-00406, 2020

WL 2394096, at *4 (N.D. Ga. May 12, 2020) (finding defendant’s age, hypertension, and obesity

constituted an extraordinary and compelling reason); United States v. Foreman, 3:19-CR-62

(VAB), 2020 WL 2315908, at *4 (D. Conn. May 11, 2020) (finding defendant’s age,

hypertension, and obesity satisfied an extraordinary and compelling reason).

       As noted, the government concedes that, under the CDC guidance, at least one of West’s

medical conditions constitute an “extraordinary and compelling reason.”              ECF 45 at 1.

Accordingly, I am satisfied that West readily satisfies the “extraordinary and compelling” prong

of the § 3582 analysis.

       The Court must also consider the factors set forth in 18 U.S.C. § 3553(a). See 18 U.S.C.

§ 3582(c)(1)(A). These include: (1) the nature of the offense and the defendant’s characteristics;

(2) the need for the sentence to reflect the seriousness of the offense, promote respect for the law,

and provide just punishment; (3) the kinds of sentences available and the applicable Guidelines

range; (4) any pertinent Commission policy statements; (5) the need to avoid unwarranted

sentence disparities; and (6) the need to provide restitution to victims.

       As indicated, the government contends that the factors under § 3553(a) militate against

granting West’s Motion. ECF 45 at 2. According to the government, because defendant “has

already received a below-guidelines sentence and permission to spend a significant part of that

sentence in home confinement,” “a further reduction would create unwarranted sentencing

disparities.” Id. Notably, the government does not suggest that West would pose a danger to the

community if released.

       Defendant acknowledges the seriousness of his offense. ECF 42 at 14. However, he also

contends that it was “aberrant given his background and character.” Id.



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       Indeed, West’s crime did not involve allegations of weapons or violence. Moreover,

defendant had two prior convictions: trespassing in 2006 and attempted theft in 2008. ECF 24,

¶¶ 26, 27. Defendant received probation before judgment in both cases. Id.

       Further, because of defendant’s non-violent history and the nature of his offense, Mr.

West was released on pretrial supervision from January 29, 2018, until his self-surrender on

January 28, 2019. ECF 24 at 1. For a year, while the defendant was on pretrial release, he was

compliant with his pretrial supervision, which included regularly attending treatment for

generalized anxiety disorder and substance abuse at Bright Horizons Behavioral Health and

working at a barbershop. ECF 42 at 2-3; ECF 24, ¶ 7.

       West’s good behavior while incarcerated also warrants recognition under 18 U.S.C. §

3553(a). In his short time at FCI Allenwood Low, West has completed six courses, worked as a

compound orderly, and attended the Residential Drug Abuse Program from June 2019 until

March 2020.     ECF 42 at 3; ECF 42-3 (Program Review).          And, West has not had any

disciplinary infractions since April 2019. Id.

       While incarcerated, West has maintained strong relationships with his family. ECF 42 at

14; ECF 42-4 (letter from defendant’s sister); ECF 42-5 (letter from defendant’s aunt).

Defendant also has a release plan that includes living with his sister and employment at his

cousin’s construction business. ECF 42-4.

       Moreover, as noted, West has already served about 21 months in prison. ECF 42-1. This

equates to about 77% of his total sentence. But, factoring in credit for good conduct, West has

served about 87% of his sentence, and has approximately one month until his release to home

confinement and three months until his release. ECF 42 at 1-2.




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       As I see it, West’s incarceration for a period of 21 months is sufficient to serve the

sentencing goals of incapacitation, deterrence, retribution, and rehabilitation. Accordingly, I find

the factors under 18 U.S.C. § 3553(a) weigh in favor of reducing West’s sentence to time served

plus fourteen days, pursuant to 18 U.S.C. § 3582(c)(1)(A).

                                       V.    Conclusion

       For the forgoing reasons, I shall grant the Motion (ECF 38; ECF 42).

       An Order follows, consistent with this Memorandum Opinion.



Date: October 20, 2020                                              /s/
                                                     Ellen Lipton Hollander
                                                     United States District Judge




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